                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
   UNITED STATES OF AMERICA,
                 -v-                          Criminal No. 21-CR-026 (CRC)
CHRISTOPHER MICHAEL ALBERTS,
             Defendant.


                              [PROPOSED] ORDER

      Upon consideration of Defendant’s Motion for Admission Pro Hac Vice of Roger

Roots, it is hereby ORDERED that the Motion is GRANTED. Roger Roots is admitted

pro hac vice and may appear on behalf of Defendant Christopher Michael Alberts, in

the above-captioned matter.


Dated:             , 2022

                                     _________________________________
                                     United States District Judge
